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 7

 8                        IN THE UNITED STATES DISTRICT COURT
 9                           EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                  CASE NO. 1:10-CR-00249-AWI-BAM-2
12                            Plaintiff,        ORDER FOR FORFEITURE MONEY
                                                JUDGMENT
13                      v.
14   MONICA MARIE HERNANDEZ,
15                            Defendant.
16

17        Based upon the United States’ Application for Forfeiture Money Judgment and the
18 plea agreement entered into between plaintiff United States of America and defendant

19 Monica Marie Hernandez,

20        IT IS HEREBY ORDERED that
21        1.     The defendant Monica Marie Hernandez shall forfeit to the United States the
22 sum of $1,461,500 and that the Court imposes a personal forfeiture money judgment

23 against defendant in that amount.

24        2.     Any funds applied towards such judgment shall be forfeited to the United
25 States of America and disposed of as provided for by law. Prior to the imposition of

26 sentence, any funds delivered to the United States to satisfy the personal money judgment
27 shall be seized and held by the United States Marshals Service, in its secure custody and

28 control.

      Order for Forfeiture Money Judgment       1
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 1        3.     This Order of Forfeiture shall become final as to the defendant at the time of
 2 sentencing and shall be made part of the sentence and included in the judgment.

 3        4.     The United States may, at any time, move pursuant to Rule 32.2(e) to amend
 4 this Order of Forfeiture to substitute property having a value not to exceed $1,461,500 to

 5 satisfy the money judgment in whole or in part.

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 7 IT IS SO ORDERED.

 8 Dated: December 24, 2014
                                          SENIOR DISTRICT JUDGE
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     Order for Forfeiture Money Judgment         2
